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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

       Plaintiff,

v.

ROOSEVELT JOHNSON, III,

       Defendant.                                   Case No. 06-cr-30166-12-DRH



                                      ORDER

HERNDON, District Judge:

             Before the Court is defendant Johnson’s Motion to Continue Sentencing

(Doc. 565), currently set for November 14, 2008. The Motion states that Defendant

and his counsel have recently been advised by the Government and the Probation

Office that their calculation of Defendant’s criminal history differs from that

predicted by the Government and Defendant’s counsel. Therefore, Defendant’s

counsel anticipates filing objections to the Presentence Investigation Report (“PSR”).

Further, Defendant’s counsel will need additional time to again review Defendant’s

criminal history as well as to meet with Defendant to fully review and discuss the

PSR.   Lastly, the Motion states that the Government has no objection to such

continuance. Defendant seeks a continuance of at least thirty days.

             For good cause shown, the Court hereby GRANTS the Motion (Doc.



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565). Accordingly, defendant Roosevelt Johnson, III’s sentencing hearing is hereby

continued to Friday, December 19, 2008 at 2:30p.m.

            IT IS SO ORDERED

            Signed this 5th day of November, 2008.

                                            /s/      DavidRHer|do|
                                            Chief Judge
                                            United States District Court




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